









Affirmed and Memorandum Opinion filed September 2, 2004









Affirmed and Memorandum Opinion filed September 2,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00036-CR

____________

&nbsp;

JESUS
RODRIGUEZ, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 183rd District
Court

Harris County,
Texas

Trial Court Cause No. 941,129

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

After a plea of guilty, appellant was convicted of
intoxication manslaughter and sentenced on January 6, 2004 to confinement for
twenty years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a written
notice of appeal.&nbsp; 








Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396 (1967), presenting a professional evaluation of the
record demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and no motion to review the record or pro
se response has been filed.

We agree the appeal is wholly frivolous and without
merit.&nbsp; Further, we find no reversible
error in the record.&nbsp; A discussion of the
brief would add nothing to the jurisprudence of the State.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed September 2, 2004.

Panel consists of Justices Yates,
Edelman, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).





